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 1 BRIAN B. BOYNTON
   Principal Deputy Assistant Attorney General
 2 ARUN G. RAO
   Deputy Assistant Attorney General
 3 AMANDA N. LISKAMM
   Director
 4 ROGER J. GURAL
   Senior Trial Attorney
 5 U.S. Department of Justice
   Consumer Protection Branch
 6 450 Fifth Street, N.W., Suite 6400S
   Washington, D.C. 20001
 7 Tel: 202-307-0174
   Email: roger.gural@usdoj.gov
 8
   PHILLIP A. TALBERT
 9 United States Attorney
   EMILIA P. E. MORRIS
10 Assistant United States Attorney
   Robert E. Coyle United States Courthouse
11 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
12 Tel: (559) 497-4084
   Email: Emilia.Morris@usdoj.gov
13
   Attorneys for Plaintiff
14 United States of America

15                         IN THE UNITED STATES DISTRICT COURT

16                      FOR THE EASTERN DISTRICT OF CALIFORNIA

17

18 UNITED STATES OF AMERICA                      ) Case No.: 1:08-CV-01786
                                                 )
19                           Plaintiff,          ) REPLY IN SUPPORT OF THE UNITED
                                                 ) STATES OF AMERICA’S MOTION TO
20         vs.                                   ) ENFORCE THE CONSENT DECREE
                                                 )
21 ORGANIC PASTURES DAIRY COMPANY,               ) HEARING DATE: May 24, 2024
   LLC, a corporation, and MARK McAFEE, an       ) TIME: 9:00 AM
22 individual,                                   ) PLACE: Courtroom 6, Fresno
                                                 ) JUDGE: Hon. Jennifer L. Thurston
23                                               )
                            Defendants.          )
24                                               )
                                                 )
25                                               )
                                                 )
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27

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     REPLY IN SUPPORT OF UNITED STATES OF AMERICA’S MOTION TO ENFORCE THE CONSENT DECREE
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 1                                           INTRODUCTION

 2          Raw Farm’s 1 opposition is significant for what it fails to dispute: that Raw Farm uses raw

 3 milk that is known or suspected to contain three dangerous pathogens, Salmonella Typhimurium, E.

 4 coli O157:H7, and/or Listeria monocytogenes, to manufacture its raw milk cheddar cheese that it

 5 distributes in interstate commerce. Neither does Raw Farm dispute that these pathogens can survive

 6 in raw milk cheddar cheese that has been aged for 60 days in accordance with 21 C.F.R.

 7 § 133.113(a). Nor could it, because pathogen test results from the California Department of Food

 8 and Agriculture, the California Department of Public Health, and Raw Farm’s own third-party

 9 laboratory reveal that Raw Farm’s 60-day aged cheese has tested positive for pathogens.
10          In its opposition, Raw Farm takes issue with the U.S. Food and Drug Administration’s
11 (“FDA” or the “Agency”) reliance on the Consent Decree, ECF No. 67 (“Decree”), a court order

12 entered less than a year ago, to which Raw Farm voluntarily agreed after this Court found that Raw

13 Farm had violated this Court’s 2010 Order of Permanent Injunction. Raw Farm argues that FDA

14 cannot rely on the Decree to remedy Raw Farm’s violations of the Federal Food, Drug, and

15 Cosmetic Act (“FDCA” or the “Act”). But the Decree expressly provides FDA with the exact

16 authority it exercised in issuing the March 1, 2024 Letter Order. Raw Farm also argues that its raw

17 milk cheddar cheese is not adulterated under the FDCA because it is manufactured in accordance

18 with the 60-day aging regulation, 21 C.F.R. § 133.113, but Raw Farm ignores that the regulation is

19 a standard of identity to prevent economic adulteration, not to ensure safety. Regardless of

20 adherence to the 60-day aging regulation, the Act prohibits Raw Farm’s distribution of adulterated

21 food in interstate commerce. And Raw Farm’s suggestions that FDA is attempting to regulate the

22 intrastate sale of raw milk and all interstate sales of raw cheese and that FDA is unfairly targeting

23 Raw Farm are frivolous.

24          FDA’s determinations are supported by sound evidence and the plain language of the

25 FDCA. For those reasons, and because Raw Farm fails to proffer any reason why it should be

26
     1
27  For ease of reading, the United States uses “Raw Farm” herein to refer to Defendant RAW FARM,
   LLC; Defendant Mark McAfee; and RAW FARM, LLC’s President, Aaron McAfee, who is an
28 “Associated Person” bound by the terms of the 2010 Permanent Injunction and 2023 Consent
   Decree in this case. See Consent Decree, ECF No. 67, ¶¶ 2–3.
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 1 excused from complying with the provisions of the Letter Order issued by FDA, this Court should

 2 compel Raw Farm to comply with the Decree and the FDCA by entering the Proposed Order

 3 submitted with the United States’ motion.

 4                                              ARGUMENT

 5 A.       The Decree Expressly Confers Upon FDA the Authority to Issue the Letter Order

 6          Raw Farm argues that the Decree issued in this case is limited to labeling issues and not

 7 cheese-making and that FDA is asking the Court to “construe[] [the Decree] beyond its intended

 8 purpose,” Opp. to Pl.’s Mot. to Enforce Consent Decree, ECF No. 78 (“Opp.”), at 11–12. However,

 9 by its own terms, the Decree states that “[i]f, at any time after this Decree has been entered, FDA
10 determines, based on the results of an inspection . . . or any other information, that Defendants have

11 . . . violated the FDCA,” FDA may order Raw Farm to take numerous specified actions not

12 specifically tied to labeling such as ceasing to manufacture (¶ 7(A)), recalling any violative FDA-

13 regulated product (¶ 7(B)), issuing public safety alerts (¶ 7(D)), and “[t]ak[ing] any other corrective

14 actions, as FDA, in its discretion, deems necessary to protect the public health” (¶ 7(F)).

15          The United States sought this injunctive authority in its prior contempt action filed against
16 Raw Farm after Raw Farm continued to violate the FDCA and this Court’s 2010 Order of

17 Permanent Injunction. See Mem. of Law in Support of USA’s Pet. for Order to Show Cause Why

18 Raw Farm Should Not Be Held in Civil Contempt, ECF No. 50-2 (“Show Cause Mem.”), at 1–2, 5–

19 9; Reply in Support of Show Cause Mem., ECF No. 60, at 6–7. Raw Farm’s own continuing

20 violations of the FDCA served as the basis for the United States to seek the letter order provision

21 that Raw Farm now contests. See Show Cause Mem. at 20–21 (explaining that such relief was

22 necessary for “FDA . . . to take swift appropriate action to safeguard public health without having to

23 further involve the Court”).

24          As described at length in the United States’ opening brief, FDA concluded that Raw Farm’s

25 raw milk cheddar cheese is adulterated under 21 U.S.C. § 342(a)(4) 2 because it is made from raw

26

27   2
    21 U.S.C. § 342(a)(4) provides that “[a] food shall be deemed to be adulterated . . . if it has been
28 prepared,  packed, or held under insanitary conditions whereby it may have become contaminated
   with filth, or whereby it may have been rendered injurious to health.”
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 1 milk that is known or suspected to contain any of three dangerous pathogens, Salmonella

 2 Typhimurium, E. coli O157:H7, and Listeria monocytogenes, which all can survive the 60-day

 3 aging period. Mem. of Law in Support of USA’s Mot. Enforce Decree, ECF No. 71 (“Mem.”), at 9–

 4 12. Raw Farm’s manufacture and distribution of this adulterated raw milk cheddar cheese in

 5 interstate commerce violates the FDCA, specifically 21 U.S.C. § 331(a) (prohibiting the

 6 introduction of adulterated food into interstate commerce) and 21 U.S.C. § 331(k) (prohibiting the

 7 doing of any act that results in food being adulterated while held for sale, after shipment of one or

 8 more of its components in interstate commerce).3 Mem. at 13–14. After unsuccessfully attempting

 9 to obtain voluntary compliance from Raw Farm, Mem. at 6, FDA issued the March 1, 2024 Letter
10 Order pursuant to the authority specifically provided to it by this Court (and agreed to by Raw

11 Farm) in the Decree, and narrowly tailored the Letter Order based on FDA’s scientific analysis to

12 address the serious risks to the public associated with consumption of Raw Farm’s adulterated raw

13 milk cheddar cheese.

14          The United States was compelled to involve the Court only because Raw Farm chose not to
15 “immediately and fully comply with the terms of the [Letter O]rder,” as it is legally bound to do

16 (and which it agreed it would do) under Paragraph 8 of the Decree. Indeed, the United States

17 attempted to obtain Raw Farm’s voluntary compliance for several weeks after issuing the Letter

18 Order and before filing its motion to enforce the Decree. See Mem. at 6–8. And contrary to Raw

19 Farm’s allegation, FDA did not “mov[e] the goalpost,” Opp. at 7; rather, FDA simply clarified, at

20 Raw Farm’s request, which supporting documentation FDA needed to verify Raw Farm’s still

21 unsupported assertion “that [it had] not manufactured any ‘Affected Cheese,’ since October 26,

22

23   3
       Contrary to Raw Farm’s assertion that the cheese is only “held for sale [ ] after it is made,” Opp. at
24   17, it is well established that the shipment in interstate commerce of components of a regulated
     article used in the manufacture of a finished product confers jurisdiction under 21 U.S.C. § 331(k).
25   See Baker v. United States, 932 F.2d 813, 816 (9th Cir. 1991) (holding that “wholly intrastate and
     manufactures and sales of drugs are covered by 21 U.S.C. § 331(k) as long as an ingredient used in
26   the final product travelled in interstate commerce”); United States v. Dianovin Pharms., Inc., 475
27   F.2d 100, 103 (1st Cir. 1973) (holding that use of components shipped in interstate commerce in
     drug manufacturing brings the activities within § 331(k)); see also United States v. An Article of
28   Food, 752 F.2d 11, 14 (1st Cir. 1985).

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 1 2023.” Mem. at 7 (citing Decl. of Darla R. Bracy, ECF No. 71-3 (“Bracy Decl.”), ¶ 37 and Ex. GG).

 2 To date, Raw Farm has not provided such documentation. Mem. at 7 (citing Bracy Decl. ¶ 43). Raw

 3 Farm’s argument that it is too burdensome on the company to collect the documentation rings

 4 hollow, particularly since FDA went so far as to identify the requested records by name and provide

 5 examples. Mem. at 7 (citing Bracy Decl. ¶ 34 and Ex. DD).

 6           In sum, Raw Farm’s argument that FDA cannot employ a provision to which Raw Farm

 7 agreed and the Court ordered in order to protect the public health is meritless.

 8 B.       FDA’s Cheese Standard of Identity Regulation is Not a Safety Standard and is Not
            Inconsistent with the FDCA’s Adulteration Provision
 9
            Raw Farm’s assertion that FDA’s Letter Order is arbitrary and capricious, Opp. at 15–17, is
10
     flawed because it relies on the false premise that Raw Farm’s compliance with the 60-day aging
11
     regulation, 21 C.F.R. § 133.113, precludes it from otherwise violating the FDCA. As explained in
12
     the United States’ opening brief, the 60-day aging regulation is a standard of identity intended to
13
     prevent economic adulteration of raw milk cheddar cheese, not to ensure that raw milk cheddar
14
     cheese is safe for human consumption. See 21 U.S.C. § 341 (providing that the Secretary shall set
15
     standards of identity that “will promote honesty and fair dealing in the interest of consumers”); see
16
     also Mem. at 12–13. Raw Farm has a separate, independent obligation to ensure that its raw milk
17
     cheddar cheese is not prepared under insanitary conditions whereby it may have been rendered
18
     injurious to health. See 21 C.F.R. § 130.3(c) (“No provision of any regulation prescribing a
19
     definition and standard of identity . . . under section 401 [21 U.S.C. § 341] of the [FDCA] shall be
20
     construed as in any way affecting the concurrent applicability of the general provisions of the
21
     [FDCA] and the regulations thereunder relating to adulteration and misbranding. For example, all
22
     regulations under section 401 [21 U.S.C. § 341] contemplate that the food and all articles used as
23
     components or ingredients thereof shall not be poisonous or deleterious and shall be clean, sound,
24
     and fit for food.”); see also 21 U.S.C. §§ 331(a), 342(a)(4). Raw Farm has failed to meet this
25
     obligation because it manufactures raw milk cheddar cheese using milk that is known or suspected
26
     to contain three dangerous pathogens that can survive the 60-day aging process, rendering the
27
     cheese adulterated under 21 U.S.C. § 342(a)(4). Mem. at 9–12.
28

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 1          The cases cited by Raw Farm are inapposite. In Panhandle Eastern Pipe Line Co. v. Federal

 2 Regulatory Commission, 613 F.2d 1120 (D.C. Cir. 1979), and Koshman v. Vilsack, 865 F. Supp. 2d

 3 1083 (E.D. Cal. 2012), Opp. at 15–17, the agencies’ interpretations were held to be inconsistent

 4 with a regulation or statute. Setting aside that FDA’s conclusion that Raw Farm’s raw milk cheddar

 5 cheese is adulterated relies on a standard of safety, 21 U.S.C. § 342(a)(4), and the 60-day aging rule

 6 is not a standard of safety, the plain language of 21 C.F.R. § 130.3(c) expressly harmonizes both,

 7 making clear that the 60-day aging rule, among others, would not “affect[] the concurrent

 8 applicability of the general provisions of the act and the regulations thereunder relating to

 9 adulteration and misbranding.” Accordingly, Raw Farm’s raw milk cheddar cheese can
10 simultaneously be in compliance with the 60-day aging standard of identity regulation, 21 C.F.R.

11 133.113(a), and adulterated under 21 U.S.C. § 342(a)(4). Hence, FDA’s conclusion to that effect is

12 not arbitrary and capricious and FDA’s Letter Order was properly issued pursuant to the Decree.

13 C.       FDA’s Letter Order Is Properly Limited to Interstate Distribution of Adulterated Raw
            Milk Cheddar Cheese
14
            Raw Farm presents no facts to support its argument that FDA is attempting to regulate the
15
     intrastate sale of raw milk. See Opp. at 17–18. The Letter Order is narrowly tailored to apply only
16
     to the interstate distribution of certain raw milk cheddar cheese. Specifically, the Letter Order
17
     requires Raw Farm to, among other things, “recall all Affected Cheese distributed in interstate
18
     commerce and destroy all Affected Cheese received by Raw Farm as a result of the recall,” “destroy
19
     all Affected Cheese currently in [Raw Farm’s] possession that is intended for distribution in
20
     interstate commerce,” and “cease distributing in interstate commerce on a permanent basis any raw
21
     milk cheddar cheese product (including any flavors) that is manufactured using Affected Raw
22
     Milk.” Mem. at 15–16 (emphases added) (citing Bracy Decl. ¶ 35 and Ex. EE). Nothing in the
23
     Letter Order prohibits Raw Farm from distributing any milk or cheese (even Affected Milk or
24
     Affected Cheese) within California. See Mem. at 15–16 (citing Bracy Decl. ¶ 35 and Ex. EE).
25
            The Letter Order is also consistent with FDA’s authority because it does not order Raw
26
     Farm to use pasteurized milk or prohibit it from distributing any cheese in interstate commerce
27
     made from raw milk after it has aged for 60 days. Rather, it orders Raw Farm to discontinue the
28

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 1 limited practice of sourcing for its raw milk cheese, either directly or due to commingling, raw milk

 2 that has tested positive4 for any one of three dangerous human pathogens, see Mem. at 9–12,

 3 because that practice renders Raw Farm’s raw milk cheese adulterated under 21 U.S.C. § 342(a)(4).

 4 D.       FDA is Not Unfairly Targeting Raw Farm

 5          Raw Farm’s argument that FDA is singling out Raw Farm because “no other cheese-makers

 6 are required to perform pre-manufacturing testing on its raw milk and raw milk products,” Opp. at

 7 78, is false. FDA’s Letter Order is appropriate and scientifically supportable because Raw Farm is

 8 not like other raw milk cheese manufacturers. In the span of less than six months, two multistate

 9 outbreaks of foodborne illnesses have been linked to Raw Farm’s raw milk and raw milk cheddar
10 cheese,5 and over 162 people have become ill. Mem. at 2–3 (citing Bracy Decl. ¶¶ 24, 25, 29, 31

11 and Exs. U, V, Z, BB; Decl. of Arthur W. Pightling, ECF No. 69-1 (“Pightling Decl.”) ¶ 6 and Ex.

12 B). After FDA became aware of the first outbreak (in which 151 people became ill and the

13 California Department of Food and Agriculture ordered Raw Farm to destroy 10,624 pounds of

14 cheese), FDA initiated two inspections of Raw Farm. Mem. at 3–4 (citing Bracy Decl. ¶¶ 6, 28, 29

15 and Exs. Y, Z). These inspections revealed that it is Raw Farm’s standard practice to test its raw

16 milk and manufacture raw milk cheddar cheese with milk that is known or suspected to contain

17 three dangerous pathogens, Salmonella Typhimurium, E. coli O157:H7, and Listeria

18 monocytogenes. Mem. at 4 (citing Bracy Decl. ¶¶ 9, 12, 14 and Exs. C, G, I).

19          It was only after carefully considering the results of these inspections, relevant scientific

20 studies, epidemiological evidence, and microbiological test results that FDA concluded that Raw

21 Farm’s manufacturing process for raw milk cheddar cheese is not effective at eliminating these

22 pathogens, even when the cheese is aged for 60 days. Mem. at 5 (citing Decl. of Stephen P. Walker,

23 ECF No. 71-2 (“Walker Decl.”), ¶ 6 and Ex. B). FDA concluded that Raw Farm’s manufacturing

24

25   4
     “Positive” is used herein as shorthand to describe milk or cheese that tested “presumptive” (if no
   confirmatory testing is done) or “presumptive” and “positive” (if confirmatory testing is done).
26 5
     Contrary to Raw Farm’s assertion that there is no evidence linking the recent E. coli O157:H7
27 outbreak  to Raw Farm, Opp. at 6, the Centers for Disease Control and Prevention concluded that
   “genomic and epidemiological evidence strongly indicate that Raw Cheddar Cheese products made
28 by RAW FARM, LLC. are the source of th[e] multistate [E. coli O157:H7] outbreak.” Mem. at 11
   (citing Bracy Decl. ¶ 31 and Ex. BB).
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 1 process constitutes insanitary conditions whereby the food may be contaminated with filth and/or

 2 rendered injurious to heath. See Mem. at 16–17 (citing Decl. of Karl C. Klontz, ECF No. 69-2

 3 (“Klontz Decl.”) ¶ 7 and Ex. B (explaining how Raw Farm’s cheese, if consumed, may lead to

 4 future outbreaks of foodborne illnesses); Walker Decl. ¶ 6 and Ex. B (describing symptoms of

 5 consuming food containing Salmonella, E. coli O157:H7, and/or Listeria monocytogenes, which

 6 include, among other things, fever, muscle aches, vomiting, diarrhea, convulsions, kidney failure,

 7 and death)).6

 8           FDA also concluded that Raw Farm’s testing of finished batches of raw milk cheddar cheese

 9 is not effective at eliminating the risk to consumers for at least two reasons. First, the testing
10 methodologies utilized by Raw Farm’s third-party contractor to test cheese are unreliable and have

11 not been validated for use in cheddar cheese. Walker Decl. ¶ 6 and Ex. C. Second, “[t]here is a high

12 risk of false-negative results when testing a small sample as a representative of a larger lot.” Mem.

13 at 6 (citing Bracy Decl. ¶ 34 and DD). According to Raw Farm’s cheese testing records, Raw Farm

14 tests a     gram sample of cheese                        , and Raw Farm’s cheese batches range in size
15 from approximately          to      pounds. Walker Decl. ¶ 6 and Ex. C. Using statistical modelling,
16 FDA estimated that the probability that that one single cell of a pathogen will be in a randomly

17 selected      gram sample is approximately 1%, which means that there is a 99% probability of a
18 false negative result. Raw Farm would therefore need to test at least        samples

19           to achieve a 90% probability that at least one of the samples included one cell of the

20 pathogen. Walker Decl. ¶ 6 and Ex. C.

21

22   6
       While Raw Farm references a social media post from an FDA employee regarding his personal
23   opinion of raw milk and raw milk products on his personal account, Opp. at 5, that employee was
     not involved in FDA’s decision to issue the Letter Order, see https://www.fda.gov/food/outbreaks-
24   foodborne-illness/meet-stic-harris-dvm-mph-director-coordinated-outbreak-response-and-
     evaluation-core-network (identifying employee as Director of the Coordinated Outbreak Response
25   and Evaluation Network, tasked with preventing, detecting, and investigating outbreaks); FDA
     Regulatory Procedure Manual, Part 6-2-15, at 44–45 (tasking the Program Division Director
26   (“PDD”) with monitoring and advising regarding “any problems regarding non-compliance with [a]
     decree” and tasking the PDD’s “compliance office” with preparing a recommendation “for any
27   action taken as the result of a violation of a decree”); https://www.fda.gov/about-fda/contact-
     ora/ora-field-leadership-contacts (identifying Darla Bracy as the PDD for the Office of Human and
28   Animal Foods Operations covering California); Bracy Decl. ¶ 35 and Ex. EE (Letter Order signed
     by Bracy).
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 1          Based on these conclusions, FDA determined that, in order to fully address Raw Farm’s

 2 adulterated raw cheese, it needed to order Raw Farm to: (i) cease distributing in interstate

 3 commerce raw milk cheddar cheese from milk that is known or suspected to contain the three

 4 dangerous pathogens, (ii) destroy any raw milk cheddar cheese in its possession sourced from such

 5 pathogenic milk intended for the interstate market, and (iii) recall all such raw milk cheddar cheese

 6 already distributed in interstate commerce. Exercising the enforcement provisions of the Decree, as

 7 opposed to initiating another new enforcement action, addresses Raw Farm’s failure to comply with

 8 the FDCA, protects the public health, and conserves both judicial and agency resources. Cf. Heckler

 9 v. Chaney, 470 U.S. 821, 831 (1985) (noting that it is “peculiarly within [the agency’s] expertise” to
10 “assess whether a violation has occurred,” “whether agency resources are best spent on this

11 violation or another,” and “whether the particular enforcement action . . . best fits the agency’s

12 overall policies”). Moreover, the government’s exercise of these enforcement provisions in the

13 Decree have afforded Raw Farm notice and an opportunity to be heard and to present evidence in

14 front of a neutral decision maker.

15          In its effort to protect the public health, FDA has acted with restraint, attempting both before
16 and after the Letter Order to obtain Raw Farm’s voluntary compliance. Mem. at 6–8. Accordingly,

17 FDA is not unfairly targeting Raw Farm. Rather, when confronted with a threat to the public health

18 (the Salmonella Typhimurium outbreak), FDA followed the evidence; came to a reasoned

19 conclusion backed by relevant scientific studies, epidemiological evidence, microbiological test

20 results, and FDA expert opinions; and issued a narrowly-tailored, science-based Letter Order aimed

21 at preventing violative product from reaching and remaining in the interstate market.

22                                             CONCLUSION

23          For these reasons, the United States respectfully requests that this Court issue the proposed

24 order attached to the United States’ motion, ECF No. 69-3.

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 1

 2 Date: May 20, 2024                                  Respectfully submitted,

 3
   BRIAN B. BOYNTON                                    PHILLIP A. TALBERT
 4 Principal Deputy Assistant Attorney General         United States Attorney
   Civil Division
 5
   ARUN G. RAO
 6 Deputy Assistant Attorney General                    /s/ Emilia P.E. Morris
                                                       EMILIA P. E. MORRIS
 7 AMANDA N. LISKAMM                                   Assistant United States Attorney
   Director                                            U.S. Attorney’s Office
 8 Consumer Protection Branch                          Eastern District of California
                                                       Counsel for the United States of America
 9
10   /s/ Roger Gural

11 Roger Gural
   Senior Trial Attorney
12 Consumer Protection Branch
   Civil Division
13 U.S. Department of Justice
   450 Fifth Street, N.W., Suite 6400S
14 Washington, D.C. 20001
   Tel: 202-307-0174
15 Email: roger.gural@usdoj.gov
   Counsel for the United States of America
16

17 OF COUNSEL:

18 MARK RAZA
   Chief Counsel
19 U.S. Food and Drug Administration

20 SHANNON SINGLETON
   Deputy Chief Counsel, Litigation
21 U.S. Food and Drug Administration

22 ELIZABETH TETER-GOSSMANN
   Associate Chief Counsel for Enforcement
23 U.S. Department of Health and Human Services
   Office of the Chief Counsel
24 U.S. Food and Drug Administration
   10903 New Hampshire Avenue
25 Silver Spring, MD 20993

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 1                            CERTIFICATE OF SERVICE BY U.S. MAIL

 2          The undersigned hereby certifies that she is an employee of the Office of the United States

 3 Attorney for the Eastern District of California and is a person of such age and discretion to be

 4 competent to serve papers:

 5          That on May 20, 2024, she served a copy of:

 6        MEMORANDUM OF LAW IN SUPPORT OF UNITED STATES OF AMERICA’S

 7                        MOTION TO ENFORCE THE CONSENT DECREE

 8 by placing said copy in a postpaid envelope addressed to the person(s) hereinafter named, at the

 9 place(s) and address(es) stated below, which is/are the last known address(es), and by depositing
10 said envelope and its contents in the United States Mail at Fresno, California.

11
     Addressee(s):
12

13 Mark R. Figueiredo
   Structure Law Group, LLP
14 1754 Technology Drive, Suite 135
   San Jose, CA 95110
15 (408) 441-7500

16
                                                          /s/ Marcela Vasquez
17                                                        Marcela Vasquez

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